                      UNITED STATES DISTRICT COURT
                 FOR THE EASTERN DISTRICT OF WISCONSIN
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ESTATE OF JAY ANDERSON, JR.
by Special Administrator, Starkeisha DeLaRosa;
J.A. minor child, through her next friend Starkeisha DeLaRosa,

                                     Plaintiff,                    Case No. 2:21-cv-1179

v.

CITY OF WAUWATOSA,
OFFICER JOSEPH ANTHONY MENSAH,
in his individual capacity, and
FORMER CHIEF OF POLICE BARRY WEBER,
in his Official capacity,

                                     Defendants.

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DEFENDANT JOSEPH MENSAH’S MOTION FOR LIMITED STAY OF DISCOVERY
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       Defendant, Joseph Mensah, by and through his counsel, Gunta Law Offices, S.C., hereby

move the Court for a limited stay a limited stay of discovery to respond to Plaintiffs’ discovery

directed to Officer Mensah, including producing Officer Mensah for any deposition.

       The grounds of this Motion are more fully set forth in the accompanying Brief in Support

of Defendant Joseph Mensah’s Motion filed herewith.

       Dated at Wauwatosa, Wisconsin this 24th day of February 2022.

                                                    GUNTA LAW OFFICES, S.C.
                                                    Attorneys for Defendant

                                             BY:    /s/ Jasmyne M. Baynard
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